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 Attorney for Plaintiffs


               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                          BUTTE DIVISION

GALLATIN WILDLIFE                  )
ASSOCIATION; YELLOWSTONE           )
BUFFALO FOUNDATION                 ) Case No. 2:15-cv-00027-BU-BMM
                                   )
           Plaintiffs,             )
     vs.                           ) PLAINTIFFS’ NOTICE OF APPEAL
                                   )
UNITED STATES FOREST               )
SERVICE, et al.,                   )
                                   )
           Defendants.             )
                                   )
                                   )
                                   )
                                   )
    Case 2:15-cv-00027-BMM Document 210 Filed 06/24/19 Page 2 of 2




       PLEASE TAKE NOTICE that Plaintiffs Gallatin Wildlife Association and

Yellowstone Buffalo Foundation, hereby appeal to the United States Court of Appeals for

the Ninth Circuit this Court’s May 7, 2019 “Order,” ECF No. 209. Plaintiffs’ appeal is

timely under Federal Rule of Appellate Procedure 4(a)(1)(B).


Respectfully submitted on this 24th day of June, 2019.



                             /s/ John Meyer
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